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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, )
Plaintiff,
Vs, Case No. 1:21-cr-00160-002 (TJK)
LOUIS ENRIQUE COLON, 5
Defendant. ; MOTION TO WITHDRAW

COMES NOW F. Joseph Warin of the firm Gibson Dunn, and pursuant to
LerR44.5(d) respectfully moves for an order to withdraw from further representation as co-
counsel for the defendant, Louis Enrique Colon. In support of this motion, undersigned

counsel offers the following suggestions in support.

I; On or about February 23, 2021, the undersigned entered his appearance as
co-counsel on behalf of defendant Colon and moved for the admission pro hac vice of
James R. Hobbs, a licensed Missouri attorney. (Doc. No. 16).

a On or about February 26, 2021, the Court granted Mr. Hobbs admission pro
hac vice, (Doc. 17) and Mr. Hobbs subsequently entered his appearance (Doc. 25).

a On or about June 7, 2021, upon application, Mr. Hobbs was granted an Order
of Admission to the U.S. District Court for the District of Columbia, DC Bar ID MO0022.

4. Based upon Mr. Hobbs’ official admission to this District, undersigned

counsel’s appearance in the case is no longer necessary. The granting of this motion to
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withdraw will not unduly delay the trial of this matter or be unfairly prejudicial to any

party, and it is in the interest of justice that the motion be granted.

WHEREFORE, the undersigned respectfully requests that this Honorable Court

grant his motion to withdraw.

Respectfully submitted,

F. Joseph Warin

DC Bar #235978

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ATTORNEY FOR DEFENDANT

CERTIFICATE OF SERVICE

I hereby certify that on June Z‘/, 2021, I will electronically file the foregoing with
the Clerk of the Court for the United States District Court for the District of Columbia by
using the CM/ECF system. I certify that all participants in the case are registered CM/ECF
users and that service will be accomplished by the CM/ECF system.

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Attorney for Defendant
